The National Sanitary Company, Petitioner, v. Commissioner of Internal Revenue, RespondentNational Sanitary Co. v. CommissionerDocket Nos. 5737, 5738United States Tax Court6 T.C. 166; 1946 U.S. Tax Ct. LEXIS 305; January 31, 1946, Promulgated *305 Decisions will be entered for the respondent.  In 1920 the petitioner purchased the assets of two corporations, issuing in payment therefor shares of its own capital stock which the recipient corporations distributed to their stockholders in complete liquidation and dissolution of those corporations.  The vendor corporations had earned surplus, as shown by their books of account, aggregating $ 67,342.19.  Held, that such earned surplus became a part of the earned surplus of petitioner.  William G. Heiner, Esq., for the petitioner.Richard L. Shook, Esq., for the respondent.  Smith, Judge.  SMITH *166  These proceedings, *306  consolidated for hearing, are for the redetermination of deficiencies in normal income tax and surtax on undistributed profits for 1937 in the amount of $ 11,791.02 (Docket No. 5737), and in income tax for 1938 in the amount of $ 2,082.05 (Docket No. 5738).In Docket No. 5737 it is alleged that the respondent erred in the determination of the deficiency in surtax on undistributed profits by "disallowing a credit for not distributing income, in view of the existence of a deficit in accumulated earnings and profits as of December 31, 1936, within the meaning of Section 26 (c) (3) of the Revenue Act of 1936, as amended by Section 501 (a) (2) of the Revenue Act of 1942."In Docket No. 5738 it is alleged that the respondent erred in the determination of the deficiency for 1938 by "disallowing a credit for not distributing income, in view of the existence of a deficit in accumulated earnings and profits as of December 31, 1937, within the meaning of Sections 26 and 27 of the Revenue Act of 1938."The facts are shown by a stipulation of facts filed by the parties and incorporated herein by reference, and by the pleadings and exhibits introduced in evidence.FINDINGS OF FACT.Petitioner is*307  an Ohio corporation, with its office and principal place of business at Salem, Ohio.  It filed its tax returns for the calendar years here in question with the collector of internal revenue for the eighteenth district of Ohio, at Cleveland.By an agreement dated July 10, 1920, the Wooster Sanitary Mfg. Co. agreed to sell to the petitioner all of its property and business for 1,100 shares of the common stock of the petitioner.  The agreement was consummated.Pursuant to such agreement the Wooster Sanitary Mfg. Co., by deed *167  dated August 18, 1920, conveyed all of its real estate to the petitioner and on the same date sold and transferred to the petitioner its entire business, property, and good will as a going concern, petitioner agreeing to satisfy and discharge the seller's liabilities, except the seller's liabilities to its own stockholders.By an agreement dated October 7, 1920, the Wooster Sanitary Co. agreed to sell to the petitioner all of its property and business for 600 shares of preferred and 1,400 shares of common stock of the petitioner.  This agreement was likewise consummated.  Pursuant to such agreement the Wooster Sanitary Co., by deed dated October 7, 1920, *308  conveyed all of its real estate to the petitioner and sold and transferred to the petitioner its entire business, property, and good will as a going concern.All of the shares of stock of the petitioner issued by it in connection with the transactions mentioned above were distributed by the recipient corporations to their respective shareholders in liquidation and dissolution of the recipient corporations.The Wooster Sanitary Mfg. Co., above mentioned, an Ohio corporation, was incorporated July 2, 1915.  Its articles of incorporation were canceled upon certificate of the Tax Commission filed February 15, 1922, and were never reinstated.  There is nothing in the records of the Secretary of State of the State of Ohio to indicate a statutory merger of the Wooster Sanitary Mfg. Co. and the petitioner.The Wooster Sanitary Co., a West Virginia corporation, was dissolved by decree of the Circuit Court of Kanawha County on July 8, 1924, for nonpayment of its license tax.  The Secretary of State of the State of West Virginia has no record of a merger of the Wooster Sanitary Co. and the petitioner.At the times when the petitioner acquired the assets of the Wooster Sanitary Mfg. Co. and the*309  Wooster Sanitary Co. in exchange for shares of its own capital stock, those companies carried on their books earned surplus in the amounts of $ 27,446.67 and $ 39,895.52, respectively.From the date of its organization in 1914 to December 31, 1936, the petitioner had losses and profits from operation as follows:YearLossProfit1915$ 4,467.9119168,157.511917$ 1,669.65191815,260.43191916,585.1719206,459.941921161,187.57192245,153.99192357,930.23192420,225.45192565,757.24192624,820.331927$ 48,396.551928$ 18,113.8219291,544.1419303,767.0819311,083.30193253,052.10193317,046.08193423,126.45193540,733.66193686,702.23Total373,255.07347,985.76*168  The petitioner made distributions to its stockholders from 1914 to 1937 as follows:YearKindAmount1918cash$ 809.081919cash1,204.001920cash5,993.751920com. stock45,075.001921cash1,518.661922cash$ 540.001927cash19,992.001927pref. stock1,400.001927own bonds23,800.001928cash7,093.02The distribution of common stock of $ 45,075 in 1920, as set forth above, was made to the holders of *310  common stock of petitioner.  The distribution of preferred stock of $ 1,400 in 1927, as set forth above, was made to the holders of preferred stock of petitioner.  The distribution of petitioner's bonds of $ 23,800 in 1927 was made to the holders of preferred stock of petitioner in payment for accrued and unpaid dividends on petitioner's preferred stock.For the calendar year 1937 the petitioner had a taxable net income of $ 66,112.67 and, after subtracting normal tax of $ 8,756.90, had an undistributed net income of $ 57,355.77.Petitioner's balance sheets as of December 31, 1936, 1937, and 1938 show a paid-in capital surplus of $ 112,139.48 at the close of 1936 and 1937 and of $ 145,535.63 at the close of 1938, and a deficit in earned surplus and undivided profits of $ 159,143.06, $ 92,089.44, and $ 53,798.61 at the end of the respective years.The respondent has determined that the petitioner had no "deficit in accumulated earnings or profits" as at December 31, 1936, but an excess in accumulated earnings and profits as of that date in the amount of $ 19,403.68.  He has accordingly held that, since the petitioner paid no dividends in 1937, it is subject to surtax on undistributed*311  earnings for that year.In its income tax return for 1938, Docket No. 5738, the petitioner claimed a credit against its total tax of 2 1/2 percent of the amount of its net income under section 13 (c) (2) (B) of the Revenue Act of 1938.  The petitioner paid no dividends to its stockholders in 1938.  In his deficiency notice the respondent disallowed the deduction of all but $ 140 of the credit, stating:It is held that in the computation of your 1938 income tax liability the dividends paid credit computed by you in your 1938 return of $ 131,085.59 should be revised to read $ 5,600.00 representing the amount used to retire indebtedness in that year.  The balance claimed by you of $ 125,485.59 as an operating deficit at December 31, 1937 has been eliminated.OPINION.The first question in issue is whether the petitioner had a deficit in accumulated earnings and profits at the close of 1936, *169  and, if so, the amount of such deficit. The pertinent provision of law is section 26 (c) (3) of the Revenue Act of 1936, as amended by section 501 (a) (2) of the Revenue Act of 1942, which reads:(a) Amendments to the Revenue Act of 1936.  --* * * *(2) Section 26 (c) of the Revenue Act*312  of 1936 (relating to credits of corporations) is amended by amending the heading to read as follows: "(c) Restrictions on Payment of Dividends. --"; and by amending paragraph (3) to read as follows:"(3) Deficit corporations.  -- In the case of a corporation having a deficit in accumulated earnings and profits as of the close of the preceding taxable year, the amount of such deficit, if the corporation is prohibited by a provision of a law or of an order of a public regulatory body from paying dividends during the existence of a deficit in accumulated earnings and profits, and if such provision was in effect prior to May 1, 1936."The petitioner claims that it had a deficit in its accumulated earnings and profits at December 31, 1936, of $ 77,068.14.  The respondent contends that on the same date it had no deficit, but accumulated earnings and profits of $ 19,403.68.The respondent's contention is that, when the petitioner acquired the assets of the two Wooster companies in 1920 in exchange for its own shares of stock, there was a reorganization of corporations within the provisions of the Revenue Act of 1918, and that the combined earned surpluses of the two Wooster companies, aggregating*313  $ 67,342.19, became a part of the earned surplus of the petitioner.  In making this contention he relies upon Sansome v. Commissioner (C. C. A., 2d Cir.), 90 Fed. (2d) 931; certiorari denied, 287 U.S. 669"&gt;287 U.S. 669, and Georday Enterprises, Ltd. v. Commissioner (C. C. A., 4th Cir.), 126 Fed. (2d) 384. The Sansome case involved the Revenue Act of 1921, and the Georday case the Revenue Acts of 1928 and 1932.  The Revenue Act of 1918 does not define what is meant by a reorganization, as the later income tax acts have done.  Section 201 (c) of the 1918 Act reads as follows:(c) A dividend paid in stock of the corporation shall be considered income to the amount of the earnings or profits distributed. Amounts distributed in the liquidation of a corporation shall be treated as payments in exchange for stock or shares, and any gain or profit realized thereby shall be taxed to the distributee as other gains or profits.Section 202 (b) of the 1918 Act provides:(b) When property is exchanged for other property, the property received in exchange shall for the purpose of determining gain or loss be*314  treated as the equivalent of cash to the amount of its fair market value, if any; but when in connection with the reorganization, merger, or consolidation of a corporation a person receives in place of stock or securities owned by him new stock or securities of no greater aggregate par or face value, no gain or loss shall be deemed to occur from the exchange, and the new stock or securities received shall be treated as taking the place of the stock, securities, or property exchanged.*170  Under the authority of the Revenue Act of 1918 the Commissioner, with the approval of the Secretary of the Treasury, promulgated Regulations 45.  Article 1567 of those regulations, as amended by T. D. 2924; Cumulative Bulletin No. 1 (Apr.-Dec., 1919), p. 44, provides in part as follows:Art. 1567. Exchange of stock for other stock of no greater par value.  -- In general where two (or more) corporations unite their properties, by * * * (b) the sale of its property by B to A and the dissolution of B, * * * no taxable income is received from the transaction by A or B or stockholders of either, provided the sole consideration received by B and its stockholders in * *315  * * (b) * * * is stock or securities of A, * * * in any case of no greater aggregate par or face value than the old stock and securities surrendered. * * *The respondent argues that the transaction by which the petitioner in 1920 acquired the assets of the two Wooster companies falls squarely within the provisions of the above quoted regulation; that the petitioner issued shares of its own capital stock to the two Wooster companies, which, in turn, distributed them to their stockholders; and as to all intents and purposes the transaction is the same as though the petitioner had issued its own shares of stock to the stockholders of the two Wooster companies in exchange for their interests in those companies.  He further argues that this amounted to a consolidation of the three corporations within the intendment of the Revenue Act of 1918 and that the rule in the Sansome and Georday cases, supra, is applicable here, namely, that where there is a consolidation of corporations the earned surplus or earned surpluses of the consolidating corporations become a part of the earned surplus of the consolidated corporation.The evidence does not show what bookkeeping entries were*316  made by the petitioner corporation when it took over the assets of the two Wooster companies and it is not clear that such bookkeeping entries would be material in this proceeding.  At the hearing of this proceeding the petitioner was apprised of the Government's contention that the transactions by which the petitioner acquired the assets of the two Wooster companies were reorganizations within the meaning of the Revenue Act of 1918.  The petitioner has pointed out that in the Revenue Act of 1921 and later revenue acts the term "reorganization" has been defined, whereas it was not defined by the Revenue Act of 1918.  These differences do not, however, in our opinion, warrant a conclusion that the respondent's regulation, article 1567 of Regulations 45, is inapplicable here.  We are of the opinion that the proof does not show error on the part of the respondent in treating the earned surpluses of the two Wooster companies as earned surplus of the petitioner following the acquisition of the assets of those companies.The petitioner and the respondent have submitted in evidence alternative methods of computing the earned surplus of the petitioner at December 31, 1936.  Most of the difference*317  in treatment is ascribable *171  to the treatment of the earned surpluses of the two Wooster companies as at the date those companies sold all their assets to the petitioner.  The respondent contends, and we think correctly, that the earned surplus of the petitioner may not be reduced by reason of a payment of dividends when there were no accumulated earnings out of which the dividends could be paid.  See Great Lakes Coca Cola Bottling Co. v. Commissioner (C. C. A., 7th Cir.), 151 Fed. (2d) 174.Section 26 (c) (3) of the Revenue Act of 1936, as amended, provides for a credit in the case of a deficit in accumulated earnings "if the corporation is prohibited by a provision of a law or of an order of a public regulatory body from paying dividends during the existence of a deficit in accumulated earnings and profits, and if such provision was in effect prior to May 1, 1936."Section 8623-38 of the General Code of the State of Ohio, effective from May 23, 1931, through 1937, reads in material part as follows:Sec. 8623-38. Dividends. (a) A corporation may declare dividends payable in cash, shares, or other property out of the excess of the aggregate*318  of its assets less the deductions hereinafter required over the aggregate of its liabilities plus stated capital.(b) In computing the excess of the assets, deductions shall be made for depletion, depreciation, losses, and bad debts.  In computing the excess of assets for the purpose of determining the fund available for a dividend payable otherwise than in shares of a corporation deduction shall also be made for the unrealized appreciation, if any, appearing on its books unless the amount thereof shall have been transferred to or included in stated capital.  If its articles so provide, a corporation whose business consists substantially of the exploitation of wasting assets, may pay dividends without making deduction for the depletion of such assets resulting from lapse of time or from the consumption or sale of such assets incidental to their exploitation.(c) No corporation shall declare or pay a dividend in cash or other property when there is reasonable ground for believing that it is unable or, by the payment of the dividend, may be rendered unable to satisfy its obligations and liabilities.(d) Whenever a dividend is paid, in whole or in part, out of other than earned excess*319  of assets appearing on the books of the corporation at the time of the declaration of such dividend, the shareholders receiving such dividend shall be notified as to its source.The stipulation of the parties was with reference to paragraphs (a) and (b) of the above section.  The petitioner submits that under such provisions it was prohibited from paying dividends during the year 1937.  On brief the petitioner submits that "it was not required to distribute any portion of its undistributed net income for 1937 which amounted to $ 57,355.77." Section 26 (c) (3), supra, refers to a case where a corporation is "prohibited" by a provision of law from the payment of dividends. We do not think the proof in this case shows that the petitioner was prohibited from the payment of a dividend equaling its undistributed earnings of 1937.  The evidence indicates that it had a paid-in surplus during the year of $ 112,139.48.  No provision of the Ohio statutes has been brought to our attention which *172  would prohibit the petitioner from paying dividends out of its paid-in surplus.  We think, therefore, that the proof does not show either that the petitioner had a deficit in accumulated*320  earnings and profits at December 31, 1936, or that it was prohibited by law from distributing to its stockholders the amount of the undistributed earnings for 1937.In its income tax return for 1938, Docket No. 5738, the petitioner claimed a credit equaling 2 1/2 percent of the adjusted net income, in accordance with section 13 (c) (2) (B) of the Revenue Act of 1938.  The contention of the petitioner is that it had a deficit in its accumulated earnings and profits at the close of 1937 of an amount in excess of its adjusted net income for 1938, namely, $ 87,338.75.  The answer to this question is in part dependent upon the amount of the deficit in accumulated earnings and profits at December 31, 1936.  Petitioner has submitted no evidence with respect to the deficit at December 31, 1937, in addition to that which was submitted for the purpose of establishing a deficit in its earnings and profits at December 31, 1938.  In its brief the petitioner does not mention its claim for this credit for 1938.  Since we have held that the petitioner did not have a deficit in its earnings and profits at December 31, 1936, and we have found that the petitioner was in a far better financial condition*321  at December 31, 1937, than it was at the close of the prior year, the claim of the petitioner that it was a deficit corporation at the close of 1937 is not substantiated.  The respondent did not err in computing the deficiency in income tax for 1938.Decisions will be entered for the respondent.  